   Case: 1:17-cv-08085 Document #: 259 Filed: 05/18/20 Page 1 of 4 PageID #:6330




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHEASTERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CRYSTAL BROWN, et al., on behalf of                  )
themselves and all others similarly situated,        )       Case No. 17-cv-8085
                                                     )
               Plaintiffs,                           )       Judge Matthew F. Kennelly
                                                     )
       v.                                            )
                                                     )
COOK COUNTY, et al.                                  )
                                                     )
               Defendants.                           )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Order of April 24, 2020, the Parties submit the following Joint

Status Report for the Court’s consideration.

            a. The Progress of Discovery

       The Parties have reached a settlement and Plaintiffs’ Motion for Preliminary Approval

has been granted. Doc. 253. The Parties do not anticipate any further discovery in this matter.

            b. The Status of Briefing on any Unresolved Motions

       Pursuant to the Court’s March 5, 2020 Order, Plaintiffs will file 1) a fee petition on or

before May 22, 2020, and 2) a Motion to Finally Approve the Settlement on or before September

11, 2020. Doc. 253.

            c. Settlement Efforts

       The Parties have reached a settlement and Plaintiffs’ Motion for Preliminary Approval

has been granted. Doc. 253.
   Case: 1:17-cv-08085 Document #: 259 Filed: 05/18/20 Page 2 of 4 PageID #:6331




           d. Agreed Proposed Schedule

       The Parties are agreed as to the motion schedule outlined above and in the Court’s March

5, 2020 Order. Doc. 253.

           e. Agreed Proposed Revised Discovery and Dispositive Motion Schedule

       The Parties do not anticipate further discovery or dispositive motion at this time.

           f. Request any Agreed Action the Court Can Take Without a Hearing.

       Plaintiffs will file a motion to amend Exhibit A to the Settlement Agreement, which is the

class list, to: 1) include Diana Garcia a current APD who was inadvertently left off the list and 2)

remove Karla Neninger, who was inadvertently included though she had previously filed an

exclusion in this matter. Doc. 230. Plaintiffs’ counsel noted the error and Ms. Neninger was not

sent a Notice of the Settlement. Defendants do not object to these proposed amendments to the

class list. Plaintiffs will file their motion no later than May 25, 2020.

           g. State Whether the Parties Believe a Telephonic Hearing with the Judge is
              Necessary and Time Urgent, and If So, Identify the Issue that Warrants
              Discussion

       There are no time urgent issues at this time. The parties are available at the Court’s

convenience for any further proceedings on the matters raised in this Joint Statement.

                                                       Respectfully submitted,

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 Case: 1:17-cv-08085 Document #: 259 Filed: 05/18/20 Page 3 of 4 PageID #:6332




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   Case: 1:17-cv-08085 Document #: 259 Filed: 05/18/20 Page 4 of 4 PageID #:6333




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the above and foregoing JOINT
STATUS REPORT was served upon all parties by e-filing this 18th day of May 2020 with the
Clerk of the Court using the CM/ECF system.



                                                   By: /s/ M. Nieves Bolanos
                                                   One of Plaintiffs’ Attorneys
